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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                             Case No. 1:16cr17-MW/GRJ

HEINRICH “HENRY” SPRINGER,

             Defendant.
                                 /

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 32, to which there has been no timely objection, and subject to

this Court’s consideration of the plea agreement pursuant to Fed. R. Crim. P.

11(e)(2), the plea of guilty of the Defendant to Counts One, Two, and Six of the

Indictment against him is hereby ACCEPTED. All parties shall appear before

this Court for sentencing as directed.

      SO ORDERED on May 19, 2017.

                                         s/Mark E. Walker             ____
                                         United States District Judge
